
PER CURIAM.
The statute gives the right of administration, first, to the husband or wife, and then to . those next entitled to distribution, or such of the distributees as the court shall most approve: and, although it authorises the court, in case no such person apply for the administration within thirty days, to grant it to a creditor or creditors who shall apply for the same, or any other fit person, in its discretion; yet it provides, that if, after the grant of the administration *to a creditor, the wife or other distributee shall apply for it, the same shall be granted in like manner as if the former had not been obtained. If, therefore, in the present case, administration had been granted to Haxall, and Lee had come, at any time afterwards, to demand it, the court must have revoked the grant thereof to Haxall, and given it to Lee. But the creditor and distributee came both together: and both were trust-worthy. The court had no discretion to withhold the administration from the distributee, and give it to the creditor. The order of the circuit court is affirmed.
